Case 18-31934-bjh11 Doc 1 Filed 06/05/18 Entered 06/05/18 13:07:42 Page 1 of 4

 

Fi|l in this information to identify the case:

`- l_|nited States Eanltruptcy Courf forthe;

District ol _____
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Offlcia| Form 205
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Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. lf you want to begin
a case against an indiyidual, use the invoiunfary Petition Against an individual {foicial Form ti]E}. Ee as complete and accurate as possible. lf
more space is needed, attach any additional sheets to this form. Dn the top of any additional pages, write debtor’s name and case number iii
known}.

 

 

 

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1. Ehapter of the uneth one.'
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E{C/hapter ?
Chapter 11
lderltify the Debtor
a. Debtor's name 'T\_`\ l\€°r‘:~§_ici._ i T-Lii" T:J \__LC_,

s- Dther names you know
the debtor has used in -----
the last B years

 

 

 

 

 

include any assumed
names1 trade names or
doing business as names

4. [.'lebtor's federal

 

 

 

 

 

 

 

 

 

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m _ ______________________ ___
Principal place of business Mailing address,l if different

s. Debtor’s address
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m Location of principal assets, if different from
principal place of business

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Eounty l - iii umber Etreet

 

 

 

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Debtcir _ ___ __ _ lt'_iasie number rrr itrrstvn]_
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s Debtor’s website {URL)

 

E/(;:irporation f including Limited Liability C.ompany (LLE} and Limited |_iabi|ib_yr Partnership {LLF’]]
\:l Parfnership i_eitcluding LLF’]
El Eithertype of debtor. Epecify. _____ ___

?- Type of debtor

s Type of debtor’s

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El nssith csrs sustnsss i_ss tisrinsa in 11 u.s-c. § transmit
|Il single asset asst Eststs tss denies in 11 u.s.c. §11:11151£111
ill esiirssti tss assess in 11 u.s.c. §11111=1411
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nitnovm type of business
s To the best of your NU
knowledge, are any
bankruptcy cases m YEE- niaer _ _ . - ____________ Fislaiiiibsbii= ___

 

 

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111. Venue mac nE_-
l§I/*é:r the last 1511 days before the li|ing of this bankruptcy, the debtor had a domicilel principal place of
` business or principal assets in this district longer than in any other district.

i:l a banitn.iptcy case concerning debtor`s affiliates general partner_. or partnership is pending in this distnct.

11- Allegatinns Each petitioner is eligible to file this petition under 11 U.S.E. § BUE{b]i.
The debtor may be the subject of an involuntary case under 11 U.S-C- § 3031a_1

ai le tone bert must be cnecited;

The debtor is generally not paying its debts as they beoorne due1 unless they are the subject of a bona
fide dispute as to liability or amount

ill 1iiiiirhin 1211 days before the hling of this petition. a custodian1 otherthan a tn.isteel receiverl or an
agent appointed or authorized to take charge of less than substantially all of the property of the
debtor for the purpose of enforcing a lien against such property. 1riras appointed or took possession

12. Has there been a n
transfer of any claim
against the debtor by or
to any petitioner'.il sole 1tib3{a}i.

l;l ‘r‘es attach all documents that evidence the transfer and any statements required under Eianitruptcy

Uh'icia| Fonn Eifis |nvoiuntary F'etition against a won-individual page 2

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it more space is needed to list petitioners attach ad=ritiomel sheets ‘t't'rite the alieged debtors name and fha case nurmber, if itta'nen. at
the top of each stteeL Following the frnlrrat of this f'orm_. set out the information required in Farts 3 and 4 of the form for each
additionsli petitioning orerditor, the petltionor’s clelrn, i'l'a=r petitioners representative,. and the petitionor*e anornny- tnchn'_ts the

statement under penaity of perjury set cut in Fart rt of the tennll folosved by each additional petitioners for representatios's} signamss_
atorl=g vr@ the signature of the petltlnnar's attnme y'_

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$hi`tfl.t'trl'tfi or imprisonment for up to 213 years or both 1t!»l__i_5 t"__- §§ 152_ 13d1. 1519, and 515?1

 

 

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mygt§n ygpresenialive appointed in a foreign pl'ecsedirsq, attach a certified pretty of the order of the oor_irt granting recognition

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Pet=ltlenera or Petitioners` Ftopresertative attorneys

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